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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DOMINIC MILANO,                                 Case No. 2:22-cv-00071-JDP (PC)
12                       Plaintiff,                   ORDER
13           v.                                       GRANTING DEFENDANTS’ AND
                                                      PLAINTIFF’S MOTIONS TO LIFT STAY
14    DUNCAN, et al.,
                                                      ECF Nos. 32 & 33
15                       Defendants.
16

17          Plaintiff brought this action alleging that defendants, officers of the Vallejo Police

18   Department, violated his Fourth Amendment rights by using excessive force against him. ECF

19   No. 1 at 3. On June 12, 2023, I stayed this case pending the culmination of plaintiff’s state

20   criminal case. ECF No. 31. Now, both defendants and plaintiff have filed motions seeking to lift

21   the stay, noting that the criminal proceedings have ended. ECF Nos. 32 at 1-2; 33 at 1. Those

22   motions will be granted.

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 1            Accordingly, it is ORDERED that the motions to lift the stay, ECF Nos. 32 & 33, are

 2   GRANTED and the stay put in place by ECF No. 31 is lifted.

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     IT IS SO ORDERED.
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     Dated:      June 14, 2024
 7                                                     JEREMY D. PETERSON
                                                       UNITED STATES MAGISTRATE JUDGE
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